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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


      Southern
 ____________________              Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               LaForta - Gestão e Investmentos, Sociedade Unipessoal Lda (Zona Franca da Madeira)
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                    5 1      1 0       9 5      9 8 8
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                              Edificio Marina Club, Avenida Arriaga
                                              ______________________________________________               _______________________________________________
                                              Number         Street                                        Number     Street

                                              No. 73, 1er Andar, Sala 103
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Funchal, Madeira               9004-533
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              Portugal
                                              ______________________________________________
                                              County
                                                                                                            700 Milam Street, Suite 1300
                                                                                                           _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                            Houston                  TX        77002
                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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              LaForta - Gestão e Investmentos,
Debtor
              Sociedade Unipessoal Lda
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                    
                                        X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        
                                        X None of the above


                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           2 ___
                                           ___ 1 ___
                                                  1 ___
                                                     1

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                        
                                        X Chapter 11. Check all that apply:

                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                        
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                           A plan is being filed with this petition.

                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases       
                                        X No
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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                LaForta - Gestão e Investmentos,
Debtor          Sociedade Unipessoal Lda
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases           
                                          X No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real             
                                          x Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                   
                                                   x   It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________


                                                                                Approximately 4 miles off the coast of Tampico Mexico
                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________
                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                   
                                                   x   No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                     Funds will be available for distribution to unsecured creditors.
                                          
                                          X After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                           1-49                            1,000-5,000                              25,001-50,000
 14.   Estimated number of                
                                          x 50-99                           5,001-10,000                             50,001-100,000
       creditors
                                           100-199                         10,001-25,000                            More than 100,000
                                           200-999

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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              LaForta - Gestão e Investmentos,
Debtor        Sociedade Unipessoal Lda
              _______________________________________________________                           Case number (if known)_____________________________________
              Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             X $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                   
                                                                                                                         x $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      n   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         n   I have been authorized to file this petition on behalf of the debtor.

                                         n   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          06/16/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                              /s/ David Weinhoffer
                                             _____________________________________________                David Weinhoffer
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Restructuring Officer
                                             Title _________________________________________




 18.   Signature of attorney
                                              /s/ Rebecca Blake Chaikin
                                             _____________________________________________                Date       06/16/2022
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                             Rebecca Blake Chaikin
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Jackson Walker LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                             1401  McKinney Street, Suite 1900
                                             _________________________________________________________________________________________________
                                             Number        Street
                                             Houston                                              TX
                                             ____________________________________________________ ____________ 77010
                                                                                                               ______________________________
                                             City                                                            State           ZIP Code

                                             713-752-4284
                                             ____________________________________                            rchaikin@jw.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                              3394311
                                             ______________________________________________________ SDTX
                                                                                                    ____________
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                §
    In re:                                                      §        Chapter 11
                                                                §
    LAFORTA - GESTÃO E INVESTIMENTOS,                           §        Case No. 22-[ ]
    SOCIEDADE UNIPESSOAL LDA.,1                                 §
                                                                §
                              Debtor.                           §
                                                                §

                               LIST OF EQUITY SECURITY HOLDERS2

             Debtor                 Equity Holders             Address of Equity                Percentage of
                                                                   Holder                        Equity Held

    LaForta - Gestão e          Offshore Drilling             29, avenue Monterey,                   100%
    Investimentos,              Holdings S.A.                 L-2163 Luxembourg,
    Sociedade                                                 Grand Duchy of
    Unipessoal, Lda                                           Luxembourg




1
      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s Foreign tax identification
      number, is: LaForta - Gestão e Investimentos, Sociedade Unipessoal, Lda (Zona Franca da Madeira) (5988).
2
      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
      Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
      commencement of the chapter 11 case.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              §
    In re:                                                    §        Chapter 11
                                                              §
    LAFORTA - GESTÃO E INVESTIMENTOS,                         §        Case No. 22-[ ]
    SOCIEDADE UNIPESSOAL LDA.,1                               §
                                                              §
                             Debtor.                          §
                                                              §

                              CORPORATE OWNERSHIP STATEMENT

       Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                      Shareholder                             Approximate Percentage of Shares Held

    Offshore Drilling Holdings S.A.                                                100%




1
      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s Foreign tax identification
      number, is: LaForta - Gestão e Investimentos, Sociedade Unipessoal, Lda (Zona Franca da Madeira) (5988).



33036761v.1 162386/00001
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 Fill in this information to identify the case:
 Debtor name LaForta - Gestão e Investimentos, Sociedade Unipessoal,
                    Lda (Zona Franca da Madeira)
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 -NONE-




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 1

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                      Case 22-90126 Document 1 Filed in TXSB on 06/16/22 Page 11 of 11

 Fill in this information to identify the case and this filing:

              LaForta - Gestão e Investmentos, Sociedade Unipessoal Lda
              (Zona Franca da Madeira)
 Debtor Name __________________________________________________________________

                                           Southern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         x
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         x
                                                         Corporate Ownership Statement and List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     06/16/2022
        Executed on ______________                               /s/ David Weinhoffer
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 David Weinhoffer
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
